       Case 20-11256-amc         Doc 19Filed 04/24/20 Entered 04/24/20 17:33:38                Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

       TANIQUA S MORENE-HARRIS                                      Chapter 13
       GUY W HARRIS


                              Debtor                 Bankruptcy No. 20-11256-AMC

                               OBJECTION OF CHAPTER 13 TRUSTEE
                             TO CONFIRMATION OF PLAN OF DEBTOR(S)

       AND NOW comes, WILLIAM C. MILLER, ESQUIRE, chapter 13 standing trustee, to object to
confirmation of the chapter 13 plan of debtor(s), because it fails to comply with 11 U.S.C. Sections 1322
and/or 1325 of the Bankruptcy Code, and/or debtor(s) has/have failed to provide information,
evidence, or corrections to the petition, schedules, statements or other documents filed by debtor(s) to
enable the standing trustee to evaluate the Plan for confirmation, as follows:

The Plan violates 11 U.S.C. Section 1325(b)(2) in that it does not include all disposable income for the benefit of
the unsecured creditors, and in particular, debtor(s) has/have failed to include the amounts that will be available
once all pension loans have been paid.

       WHEREFORE, the standing trustee requests that the Court enter an order in the form annexed hereto
denying confirmation of the Plan.


                                                     Respectfully submitted,

                                                       /s/ William C. Miller
                                                     William C. Miller, Esquire
                                                     Chapter 13 Standing Trustee
